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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                      CRIMINAL ACTION
 VERSUS                                                        NO. 24-003
 TODD F. MORRELL                                               SECTION "A" (1)

                              NOTICE OF REARRAIGNMENT

Take notice that this criminal case is set for Rearraignment on November 26, 2024, at 10:45 a.m.,
before Judge Jay C. Zainey, 500 Poydras Street, Courtroom C-467, New Orleans, LA 70130.

     IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING.
  PERSONS ON BOND MUST REPORT TO THE DEPUTY U. S. MARSHAL IMMEDIATELY OUTSIDE
   THE COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

NOTICE TO DEFENDANTS AND COUNSEL: After the defendant has entered a guilty plea,
the U.S. Probation Office shall complete and provide to the Court a Presentence Investigation and
Report (PSI). Any defendant on bond and his or her attorney shall report to the U.S. Probation
Office immediately following the conclusion of the rearraignment proceeding for an initial
interview and to schedule any subsequent interviews. If a defendant on bond and his or her defense
counsel are unable to report to the U.S. Probation Office immediately following the defendant's
change of plea, defense counsel must make alternate arrangements with the U.S. Probation Officer
prior to leaving the courthouse following the rearraignment proceeding.

Date: November 21, 2024                             CAROL L. MICHEL, CLERK
                                                    By: Jennifer S. Limjuco, Deputy Clerk

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TO:
TODD F. MORRELL (bond)                              AUSA: Jordan Ginsberg & Brittany Reed
  William Gibbens, Counsel
    billy@semmlaw.com                               U.S. Marshal
  Ian L. Atkinson, Co-Counsel
    ian@semmlaw.com                                 U.S. Probation Office

                                                    U.S. Pretrial Services Unit

                                                    JUDGE

                                                    MAGISTRATE JUDGE

                                                    INTERPRETER – N/A
If you change address,
notify clerk of court                               FBI, Special Agent Bradley Tedesco
by phone, (504) 589-7687                              neworleans@ic.fbi.gov
